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 7
                                 UNITED STATES DISTRICT COURT
 8
                                CENTRAL DISTRICT OF CALIFORNIA
 9
10                                              Case No.:
      KEVIN COX,
11                 Plaintiff,                   COMPLAINT FOR INJUNCTIVE
                                                RELIEF AND DAMAGES FOR DENIAL
12          vs.                                 OF CIVIL RIGHTS OF A DISABLED
                                                PERSON IN VIOLATIONS OF
13
                                                1. AMERICANS WITH DISABILITIES;
14
      EL PAISSA MEXICAN GRILL, INC.;            2. CALIFORNIA’S UNRUH CIVIL
15    VICTOR RODRIGUEZ; and DOES 1 to           RIGHTS ACT;
16    10,                                       3. CALIFORNIA’S DISABLED
                   Defendants.                  PERSONS ACT;
17
                                                4. CALIFORNIA HEALTH & SAFETY
18                                              CODE;
19                                              5. NEGLIGENCE
20
21
22
23
24
            Plaintiff KEVIN COX (“Plaintiff”) complains of Defendants EL PAISSA
25
      MEXICAN GRILL, INC.; VICTOR RODRIGUEZ; and DOES 1 to 10 (“Defendants”)
26
      and alleges as follows:
27
      //
28
      //


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 1                                              PARTIES
 2            1.   Plaintiff is a California resident with a physical disability. Plaintiff is
 3    diagnosed with paraplegia and is substantially limited in his ability to walk. Plaintiff
 4    requires the use of a wheelchair at all times when traveling in public.
 5            2.   Defendants are, or were at the time of the incident, the real property owners,
 6    business operators, lessors and/or lessees of the real property for EL PAISSA
 7    (“Business”) located at or about 4092 S. Broadway, Los Angeles, California.
 8            3.   The true names and capacities, whether individual, corporate, associate or
 9    otherwise of Defendant DOES 1 through 10, and each of them, are unknown to Plaintiff,
10    who therefore sues said Defendants by such fictitious names. Plaintiff will ask leave of
11    Court to amend this Complaint when the true names and capacities have been
12    ascertained. Plaintiff is informed and believes and, based thereon, alleges that each such
13    fictitiously named Defendants are responsible in some manner, and therefore, liable to
14    Plaintiff for the acts herein alleged.
15            4.   Plaintiff is informed and believes, and thereon alleges that, at all relevant
16    times, each of the Defendants was the agent, employee, or alter-ego of each of the other
17    Defendants, and/or was acting in concert with each of the other Defendants, and in doing
18    the things alleged herein was acting with the knowledge and consent of the other
19    Defendants and within the course and scope of such agency or employment relationship.
20            5.   Whenever and wherever reference is made in this Complaint to any act or
21    failure to act by a defendant or Defendants, such allegations and references shall also be
22    deemed to mean the acts and failures to act of each Defendant acting individually, jointly
23    and severally.
24                                  JURISDICTION AND VENUE
25            6.   The Court has jurisdiction of this action pursuant to 28 USC §§ 1331 and
26    1343 for violation of the Americans with Disabilities Act of 1990, (42 USC §12101, et
27    seq.)
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 1          7.     Pursuant to pendant jurisdiction, attendant and related causes of action,
 2    arising from the same nucleus of operating facts, are also brought under California law,
 3    including, but not limited to, violations of California Civil Code §§51, 51.5, 52(a), 52.1,
 4    54, 54., 54.3 and 55.
 5          8.     Plaintiff’s claims are authorized by 28 USC §§ 2201 and 2202.
 6          9.     Venue is proper in this court pursuant to 28 USC §1391(b). The real
 7    property which is the subject of this action is located in this district, Los Angeles County,
 8    California, and that all actions complained of herein take place in this district.
 9                                   FACTUAL ALLEGATIONS
10          10.    In or about February of 2021, Plaintiff went to the Business.
11          11.    The Business is a restaurant business establishment, which is open to the
12    public, and is a place of public accommodation and affects commerce through its
13    operation. Defendants provide parking spaces for customers.
14          12.    While attempting to enter the Business during each visit, Plaintiff personally
15    encountered a number of barriers that interfered with his ability to use and enjoy the
16    goods, services, privileges, and accommodations offered at the Business.
17          13.    To the extent of Plaintiff’s personal knowledge, the barriers at the Business
18    included, but were not limited to, the following:
19                 a.     Defendants failed to comply with the federal and state standards for
20                        the parking space designated for persons with disabilities. Defendants
21                        failed to provide any parking space designated for persons with
22                        disabilities due to obstructions.
23                 b.     Defendant failed to maintain the parking space designated for persons
24                        with disabilities to comply with the federal and state standards.
25                        Defendants failed to maintain the facility to be readily accessible.
26          14.    These barriers and conditions denied Plaintiff the full and equal access to the
27    Business and caused him difficulty and frustration. Plaintiff wishes to patronize the
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 1    Business, however, Plaintiff is deterred from visiting the Business because his knowledge
 2    of these violations prevents him from returning until the barriers are removed.
 3          15.    Based on the violations, Plaintiff alleges, on information and belief, that
 4    there are additional barriers to accessibility at the Business after further site inspection.
 5    Plaintiff seeks to have all barriers related to his disability remedied. See Doran v. 7-
 6    Eleven, Inc. 524 F.3d 1034 (9th Cir. 2008).
 7          16.    In addition, Plaintiff alleges, on information and belief, that Defendants
 8    knew that particular barriers render the Business inaccessible, violate state and federal
 9    law, and interfere with access for the physically disabled.
10          17.    At all relevant times, Defendants had and still have control and dominion
11    over the conditions at this location and had and still have the financial resources to
12    remove these barriers without much difficulty or expenses to make the Business
13    accessible to the physically disabled in compliance with ADDAG and Title 24
14    regulations. Defendants have not removed such barriers and have not modified the
15    Business to conform to accessibility regulations.
16                                    FIRST CAUSE OF ACTION
17        VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
18          18.    Plaintiff incorporates by reference each of the allegations in all prior
19    paragraphs in this complaint.
20          19.    Under the Americans with Disabilities Act of 1990 (“ADA”), no individual
21    shall be discriminated against on the basis of disability in the full and equal enjoyment of
22    the goods, services, facilities, privileges, advantages, or accommodations of any place of
23    public accommodation by any person who owns, leases, or leases to, or operates a place
24    of public accommodation. See 42 U.S.C. § 12182(a).
25          20.    Discrimination, inter alia, includes:
26                 a.     A failure to make reasonable modification in policies, practices, or
27                        procedures, when such modifications are necessary to afford such
28                        goods, services, facilities, privileges, advantages, or accommodations



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 1                     to individuals with disabilities, unless the entity can demonstrate that
 2                     making such modifications would fundamentally alter the nature of
 3                     such goods, services, facilities, privileges, advantages, or
 4                     accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
 5               b.    A failure to take such steps as may be necessary to ensure that no
 6                     individual with a disability is excluded, denied services, segregated or
 7                     otherwise treated differently than other individuals because of the
 8                     absence of auxiliary aids and services, unless the entity can
 9                     demonstrate that taking such steps would fundamentally alter the
10                     nature of the good, service, facility, privilege, advantage, or
11                     accommodation being offered or would result in an undue burden. 42
12                     U.S.C. § 12182(b)(2)(A)(iii).
13               c.    A failure to remove architectural barriers, and communication barriers
14                     that are structural in nature, in existing facilities, and transportation
15                     barriers in existing vehicles and rail passenger cars used by an
16                     establishment for transporting individuals (not including barriers that
17                     can only be removed through the retrofitting of vehicles or rail
18                     passenger cars by the installation of a hydraulic or other lift), where
19                     such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).
20               d.    A failure to make alterations in such a manner that, to the maximum
21                     extent feasible, the altered portions of the facility are readily
22                     accessible to and usable by individuals with disabilities, including
23                     individuals who use wheelchairs or to ensure that, to the maximum
24                     extent feasible, the path of travel to the altered area and the
25                     bathrooms, telephones, and drinking fountains serving the altered
26                     area, are readily accessible to and usable by individuals with
27                     disabilities where such alterations to the path or travel or the
28                     bathrooms, telephones, and drinking fountains serving the altered



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 1                         area are not disproportionate to the overall alterations in terms of cost
 2                         and scope. 42 U.S.C. § 12183(a)(2).
 3          21.      Where parking spaces are provided, accessible parking spaces shall be
 4    provided. 1991 ADA Standards § 4.1.2(5); 2010 ADA Standards § 208. One in every
 5    eight accessible spaces, but not less than one, shall be served by an access aisle 96 in
 6    (2440 mm) wide minimum and shall be designated “van accessible.” 1991 ADA
 7    Standards § 4.1.2(5)(b). For every six or fraction of six parking spaces, at least one shall
 8    be van parking space. 2010 ADA Standards § 208.2.4.
 9          22.      Here, Defendants failed to provide any parking space designated for persons
10    with disabilities as the one provided was not accessible due to obstructions such as a tent,
11    tables and chairs.
12          23.      At least one accessible route shall connect accessible building, facilities,
13    elements, and spaces that are on the same site. 1991 ADA Standards § 4.3.2. A public
14    accommodation shall maintain in operable working condition those features of facilities
15    and equipment that are required to be readily accessible to and usable by persons with
16    disabilities by the Act or this part. 28 C.F.R. 35.211(a).
17          24.      Here, Defendants failed to provide at least one accessible route from the
18    access aisle to the entrance of the Business as there were obstructions such as a tent,
19    tables and chairs.
20          25.      A public accommodation shall maintain in operable working condition those
21    features of facilities and equipment that are required to be readily accessible to and usable
22    by persons with disabilities by the Act or this part. 28 C.F.R. 35.211(a).
23          26.      By failing to maintain the facility to be readily accessible and usable by
24    Plaintiff, Defendants are in violation of Plaintiff’s rights under the ADA and its related
25    regulations.
26          27.      The Business has denied and continues to deny full and equal access to
27    Plaintiff and to other people with disabilities. Plaintiff has been and will continue to be
28    discriminated against due to the lack of accessible facilities, and therefore, seeks



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 1    injunctive relief to alter facilities to make such facilities readily accessible to and usable
 2    by individuals with disabilities.
 3                                  SECOND CAUSE OF ACTION
 4                    VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
 5          28.    Plaintiff incorporates by reference each of the allegations in all prior
 6    paragraphs in this complaint.
 7          29.    California Civil Code § 51 states, “All persons within the jurisdiction of this
 8    state are free and equal, and no matter what their sex, race, color, religion, ancestry,
 9    national origin, disability, medical condition, genetic information, marital status, sexual
10    orientation, citizenship, primary language, or immigration status are entitled to the full
11    and equal accommodations, advantages, facilities, privileges, or services in all business
12    establishments of every kind whatsoever.”
13          30.    California Civil Code § 52 states, “Whoever denies, aids or incites a denial,
14    or make any discrimination or distinction contrary to Section 51, 515, or 51.6, is liable
15    for each and every offense for the actual damages, and any amount that may be
16    determined by a jury, or a court sitting without a jury, up to a maximum of three times the
17    amount of actual damage but in no case less than four thousand dollars ($4,000) and any
18    attorney’s fees that may be determined by the court in addition thereto, suffered by any
19    person denied the rights provided in Section 51, 51.5, or 51.6.
20          31.    California Civil Code § 51(f) specifies, “a violation of the right of any
21    individual under federal Americans with Disabilities Act of 1990 (Public Law 101-336)
22    shall also constitute a violation of this section.”
23          32.    The actions and omissions of Defendants alleged herein constitute a denial
24    of full and equal accommodation, advantages, facilities, privileges, or services by
25    physically disabled persons within the meaning of California Civil Code §§ 51 and 52.
26    Defendants have discriminated against Plaintiff in violation of California Civil Code §§
27    51 and 52.
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 1          33.    The violations of the Unruh Civil Rights Act caused Plaintiff to experience
 2    difficulty, discomfort, or embarrassment. The Defendants are also liable for statutory
 3    damages as specified in California Civil Code §55.56(a)-(c).
 4                                  THIRD CAUSE OF ACTION
 5                VIOLATION OF CALIFORNIA DISABLED PERSONS ACT
 6          34.    Plaintiff incorporates by reference each of the allegations in all prior
 7    paragraphs in this complaint.
 8          35.    California Civil Code § 54.1(a) states, “Individuals with disabilities shall be
 9    entitled to full and equal access, as other members of the general public, to
10    accommodations, advantages, facilities, medical facilities, including hospitals, clinics,
11    and physicians’ offices, and privileges of all common carriers, airplanes, motor vehicles,
12    railroad trains, motorbuses, streetcars, boats, or any other public conveyances or modes
13    of transportation (whether private, public, franchised, licensed, contracted, or otherwise
14    provided), telephone facilities, adoption agencies, private schools, hotels, loading places,
15    places of public accommodations, amusement, or resort, and other places in which the
16    general public is invited, subject only to the conditions and limitations established by
17    law, or state or federal regulation, and applicable alike to all persons.
18          36.    California Civil Code § 54.3(a) states, “Any person or persons, firm or
19    corporation who denies or interferes with admittance to or enjoyment of public facilities
20    as specified in Sections 54 and 54.1 or otherwise interferes with the rights of an
21    individual with a disability under Sections 54, 54.1 and 54.2 is liable for each offense for
22    the actual damages, and any amount as may be determined by a jury, or a court sitting
23    without a jury, up to a maximum of three times the amount of actual damages but in no
24    case less than one thousand dollars ($1,000) and any attorney’s fees that may be
25    determined by the court in addition thereto, suffered by any person denied the rights
26    provided in Section 54, 54.1, and 54.2.
27          37.    California Civil Code § 54(d) specifies, “a violation of the right of an
28    individual under Americans with Disabilities Act of 1990 (Public Law 101-336) also



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 1    constitute a violation of this section, and nothing in this section shall be construed to limit
 2    the access of any person in violation of that act.
 3          38.    The actions and omissions of Defendants alleged herein constitute a denial
 4    of full and equal accommodation, advantages, and facilities by physically disabled
 5    persons within the meaning of California Civil Code § 54. Defendants have
 6    discriminated against Plaintiff in violation of California Civil Code § 54.
 7          39.    The violations of the California Disabled Persons Act caused Plaintiff to
 8    experience difficulty, discomfort, and embarrassment. The Defendants are also liable for
 9    statutory damages as specified in California Civil Code §55.56(a)-(c).
10                                 FOURTH CAUSE OF ACTION
11                 CALIFORNIA HEALTH & SAFETY CODE § 19955, et seq.
12          40.    Plaintiff incorporates by reference each of the allegations in all prior
13    paragraphs in this complaint.
14          41.    Plaintiff and other similar physically disabled persons who require the use of
15    a wheelchair are unable to use public facilities on a “full and equal” basis unless each
16    such facility is in compliance with the provisions of California Health & Safety Code §
17    19955 et seq. Plaintiff is a member of the public whose rights are protected by the
18    provisions of California Health & Safety Code § 19955 et seq.
19          42.    The purpose of California Health & Safety Code § 1995 et seq. is to ensure
20    that public accommodations or facilities constructed in this state with private funds
21    adhere to the provisions of Chapter 7 (commencing with Section 4450) of Division 5 of
22    Title 1 of the Government Code. The code relating to such public accommodations also
23    require that “when sanitary facilities are made available for the public, clients, or
24    employees in these stations, centers, or buildings, they shall be made available for
25    persons with disabilities.
26          43.    Title II of the ADA holds as a “general rule” that no individual shall be
27    discriminated against on the basis of disability in the full and equal enjoyment of goods
28    (or use), services, facilities, privileges, and accommodations offered by any person who



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 1     owns, operates, or leases a place of public accommodation. 42 U.S.C. § 12182(a).
 2     Further, each and every violation of the ADA also constitutes a separate and distinct
 3     violation of California Civil Code §§ 54(c) and 54.1(d), thus independently justifying an
 4     award of damages and injunctive relief pursuant to California law, including but not
 5     limited to Civil Code § 54.3 and Business and Professions Code § 17200, et seq.
 6                                     FIFTH CAUSE OF ACTION
 7                                           NEGLIGENCE
 8            44.    Plaintiff incorporates by reference each of the allegations in all prior
 9     paragraphs in this complaint.
10            45.    Defendants have a general duty and a duty under the ADA, Unruh Civil
11     Rights Act and California Disabled Persons Act to provide safe and accessible facilities
12     to the Plaintiff.
13            46.    Defendants breached their duty of care by violating the provisions of ADA,
14     Unruh Civil Rights Act and California Disabled Persons Act.
15            47.    As a direct and proximate result of Defendants’ negligent conduct, Plaintiff
16     has suffered damages.
17                                       PRAYER FOR RELIEF
18            WHEREFORE, Plaintiff respectfully prays for relief and judgment against
19     Defendants as follows:
20            1.     For preliminary and permanent injunction directing Defendants to comply
21     with the Americans with Disability Act and the Unruh Civil Rights Act;
22            2.     Award of all appropriate damages, including but not limited to statutory
23     damages, general damages and treble damages in amounts, according to proof;
24            3.     Award of all reasonable restitution for Defendants’ unfair competition
25     practices;
26            4.     Reasonable attorney’s fees, litigation expenses, and costs of suit in this
27     action;
28            5.     Prejudgment interest pursuant to California Civil Code § 3291; and



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 1           6.     Such other and further relief as the Court deems just and proper.
 2                                DEMAND FOR TRIAL BY JURY
 3           Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby
 4     demands a trial by jury on all issues so triable.
 5
 6     Dated: March 9, 2021             SO. CAL. EQUAL ACCESS GROUP
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 8
 9                                             By:   _/s/ Jason J. Kim___________
                                                     Jason J. Kim, Esq.
10                                             Attorneys for Plaintiff
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